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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                           :
                                                   :
      v.                                           : CASE NO. 21-CR- 725 (RDM)
                                                   :
JARED KASTNER, ET AL.,                             :
                                                   :
                        Defendants.                :
                                             _____ :

                                  JOINT STATUS REPORT

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, and defendants Jared Kastner, Luke Faulkner, and Kenneth Massie, by

and through their attorneys, Nathan I. Silver, Kira Anne West, and Stephen Brennwald,

respectively, now submit this joint status report, requested by the Court on June 21, 2022.

       1. In the last joint status report, the government discussed the state of global discovery

            and case-specific discovery in this matter. Since then, case-specific discovery was

            produced via USAfx on July 29, 2022, to Ms. West, and on August 15, 2022, to

            Mr. Brennwald. At this point, all case-specific discovery has been produced to the

            defense. The government is prepared to share any case-specific discovery again upon

            request of counsel.

       2. The government has made all global productions available on the defense instances of

            Relativity and Evidence.com. Global productions were made on June 29, 2022, and

            July 15, 2022. At this juncture, approximately 1,880,698 files have been provided to

            the defense Relativity database. Among other things, these documents include

            approximately 208 digitally recorded interviews; 1,011 FBI FD-302s; 61,301 tips; and

            the results of searches of 490 digital devices and 98 Store Communications Act
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   accounts. Over 24,000 files have been produced to the defense Evidence.com video

   repositories. Corresponding indexes have been made available via USAfx.

3. The government expects to make additional global productions, which should include,

   inter alia, the scoped results of search warrants conducted on other Capitol riot

   defendant’s electronic devices and social media accounts, recorded custodial

   interviews of Capitol riot defendants, and additional materials in the custody and

   control of the FBI that may be relevant to the defendants.

4. On May 23, 2022, plea offers were made to all defendants and delivered via email to

   counsel. The government is engaged in productive plea discussions with the defense

   and expects those discussions to continue.

5. Ms. West has communicated to the government that Mr. Faulkner intends to accept the

   government’s plea offer.

6. Mr. Brennwald and Mr. Silver have requested an additional 30 days to review discovery

   with defendants Mr. Massie and Mr. Kastner, respectively, and to discuss the

   government’s plea offer.

7. The government has agreed to hold open the plea offer until the next status conference

   to allow counsel to confer with the defendants.

8. Given the discovery recently produced, continued production of global discovery, and

   productive plea discussions, the parties ask for an additional 30 days to work toward a

   resolution in this matter.

9. The most recent status conference in this matter was held on February 18, 2022.

   Therefore, the parties ask for the Court to schedule a status conference on or after


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   September 29. If the parties reach a decision regarding the disposition of this matter

   prior to that date, the parties will notify the Court before the date of the next hearing.

10. The parties are in agreement that, due to plea negotiations, the ends of justice would be

   served by exclusion of time under the Speedy Trial Act until the proposed next status

   hearing before this Court on or after September 29. The defendants waive their rights

   under the Speedy Trial Act and agree to the exclusion of time for the period from

   today’s status report through the date of the next status conference.



                                      Respectfully submitted,

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